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                                                                                                                         Pleasant Hill, CA 94523
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                                                                                                                         Facsimile: (925) 939-0203
                                                                                                                    6
                                                                                                                         Attorneys for Defendants
                                                                                                                    7    Officer Michael Mortimer, Detective James Colley, and City of
                                                                                                                         Antioch
                                                                                                                    8
McNAMARA, NEY, BEATTY, SLATTERY, BORGES & AMBACHER LLP




                                                                                                                    9                                  UNITED STATES DISTRICT COURT
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10                                 NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                   11

                                                                                                                   12
                                                                        TELEPHONE: (925) 939-5330




                                                                                                                         Greg Banks; Alexis Avalos; Estate of             Case No. C18-7391 HSG
                                                                           ATTORNEYS AT LAW




                                                                                                                   13    Nathan Banks (Deceased),
                                                                                                                                                                          DEFENDANTS' JOINT CASE
                                                                                                                   14                   Plaintiffs,                       MANAGEMENT CONFERENCE
                                                                                                                                                                          STATEMENT
                                                                                                                   15           vs.
                                                                                                                                                                          Date:          May 30, 2019
                                                                                                                   16    Officer Michael Mortimer, Detective James        Time:          2:00 p.m.
                                                                                                                         Colley, City of Antioch, County of Contra        Dept:          Crtrm 2, 4th floor – Oakland
                                                                                                                   17    Costa, Contra Costa County Coroner David         Judge:         Hon. Haywood S. Gilliam, Jr
                                                                                                                         O. Livingston, Deputy District Attorney
                                                                                                                   18    Barry Grove, James Alexander, Matthew P.
                                                                                                                         Guichard and DOES,
                                                                                                                   19
                                                                                                                                        Defendants.
                                                                                                                   20

                                                                                                                   21          Pursuant to Federal Rule of Civil Procedure 16(a) and Civil Local Rule 16-9 of the U.S.

                                                                                                                   22   District Court for the Northern District of California, this Joint Case Management Conference

                                                                                                                   23   Statement is submitted by Defendants City of Antioch, Corporal Michael Mortimer, Detective

                                                                                                                   24   James Colley, County of Contra Costa, Coroner David O. Livingston, Deputy District Attorney

                                                                                                                   25   Barry Grove, Senior Inspector James Alexander, and Matthew P. Guichard.

                                                                                                                   26           Defendants City of Antioch, Corporal Mortimer and Detective Colley are referred to herein

                                                                                                                   27   as the Antioch Defendants. Defendants County of Contra Costa, Coroner Livingston, Deputy

                                                                                                                   28   District Attorney Grove and Senior Inspector Alexander are referred to herein as the Contra Costa

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT
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                                                                                                                    1   Defendants.

                                                                                                                    2                  1.      JURISDICTION AND SERVICE:
                                                                                                                    3          This is a civil rights, wrongful death, and survival action arising under 42 U.S.C. §§ 1983

                                                                                                                    4   and 1988, the Fourth and Fourteenth Amendments to the United States Constitution, and the laws

                                                                                                                    5   and Constitution of the State of California. This Court has jurisdiction over this case pursuant to

                                                                                                                    6   28 U.S.C. §§ 1331, 1343, and 1367.

                                                                                                                    7          All named Defendants have appeared. However, as noted in Sections 19 and 21 below,

                                                                                                                    8   there appear to be issues of standing and whether all required heirs are involved in this case.
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                                                                                                                    9                  2.      FACTS:
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10                          a.      Antioch Defendants’ Statement of Facts:
                                                                                                                   11          On June 16, 2017, at approximately 11:30 p.m., Antioch Police Department (APD) Corporal

                                                                                                                   12   (“Cpl”) Mortimer was on patrol in the City of Antioch when he noticed a white Volkswagen Passat
                                                                        TELEPHONE: (925) 939-5330
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                                                                                                                   13   vehicle parked facing him in front of a house where he had contacted other people earlier that

                                                                                                                   14   evening, in this area that is known for high crime and violence. When he illuminated the area, he

                                                                                                                   15   saw Ms. Jennifer Caldwell in the driver seat and Decedent in the front passenger seat making furtive

                                                                                                                   16   and suspicious movements inside the car. Cpl. Mortimer pulled his patrol vehicle next to the

                                                                                                                   17   Volkswagen in the roadway and spoke to Ms. Caldwell, who he knew from prior contacts. Ms.

                                                                                                                   18   Caldwell identified the passenger as “Nate,” who Cpl. Mortimer immediately recognized from prior

                                                                                                                   19   contacts and per his reputation as being violent, resistive, and dangerous. Cpl. Mortimer got out of
                                                                                                                   20   his patrol vehicle and went to speak to Decedent on the passenger side of the Volkswagen.

                                                                                                                   21          During a brief discussion, Decedent’s attitude suddenly changed and he began acting

                                                                                                                   22   strange. Decedent leaned forward and reached towards his back with his left hand, out of

                                                                                                                   23   Cpl. Mortimer’s sight. Cpl. Mortimer believed Decedent was reaching for a firearm and knew he

                                                                                                                   24   often carried firearms per his prior contacts and general police knowledge. Cpl. Mortimer gave

                                                                                                                   25   commands for Decedent to show his hands. Decedent then forcefully attempted to open the

                                                                                                                   26   passenger door, but the door hit Cpl. Mortimer in the leg and could not open all the way. Decedent

                                                                                                                   27   was still digging in his back waist area and was asking to get out of the car. Cpl. Mortimer had his

                                                                                                                   28   flashlight in his left hand and used it as an alternative striking device to try to strike Decedent in

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT                 2
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                                                                                                                    1   the sternum, but Decedent leaned forward and the flashlight struck him in his forehead.

                                                                                                                    2          Decedent then pulled his left hand out from behind his back and reached it over by Ms.

                                                                                                                    3   Caldwell in the driver seat. At this point, Cpl. Mortimer saw Decedent had a firearm in his left

                                                                                                                    4   hand. Cpl. Mortimer drew his firearm and ordered to see both of Decedent’s hands, but he did not

                                                                                                                    5   comply and continued to try to push the passenger door open. Cpl. Mortimer lost visual of

                                                                                                                    6   Decedent’s left hand (due to his position up on the sidewalk and Decedent’s movements inside of

                                                                                                                    7   the vehicle), but believed Decedent ditched the firearm out the window. Cpl. Mortimer figured

                                                                                                                    8   since the gun was gone, he would let Decedent out of the car and then he would take him to the
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                                                                                                                    9   ground to arrest him. Cpl. Mortimer holstered his firearm and went to grab Decedent as he exited
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10   the Volkswagen, at this point he saw Decedent still had the gun in his left hand. Ms. Caldwell

                                                                                                                   11   stated she saw Decedent with a dark object in his hands as he exited the vehicle. Cpl. Mortimer

                                                                                                                   12   grabbed Decedent’s shirt, which ripped, but then Decedent got loose and ran away with the firearm
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                                                                                                                   13   in his left hand. Cpl. Mortimer pursued Decedent on foot per his duty as now Decedent was a

                                                                                                                   14   fleeing suspect with a firearm who had defied multiple lawful orders and was running into a

                                                                                                                   15   populated residential area.

                                                                                                                   16          Cpl. Mortimer pursued Decedent a short distance and gave Decedent commands to stop

                                                                                                                   17   running, though he did not comply. Decedent suddenly turned west towards the entrance of the

                                                                                                                   18   side yard of 2308 Manzanita Apt. B. As Cpl. Mortimer came around the corner, he saw Decedent

                                                                                                                   19   straddling the fence with his right leg over the fence and with the left side of his body exposed to
                                                                                                                   20   Cpl. Mortimer. As Decedent was moving over the fence, Cpl. Mortimer saw the firearm in

                                                                                                                   21   Decedent’s hand and saw the barrel come around towards him. Believing he was about to be

                                                                                                                   22   shot by Decedent, Cpl. Mortimer fired three shots.

                                                                                                                   23          After the shooting, Decedent fell to the other side of the fence. Cpl. Mortimer retreated and

                                                                                                                   24   waited for cover units to arrive. APD Canine Ofc. White arrived and then the two of them breached

                                                                                                                   25   the fence, they found Decedent laying on the ground with a firearm 1-2 inches away from his

                                                                                                                   26   right hand. Ofc. White immediately sent in his dog to engage the subject and the dog bit Decedent

                                                                                                                   27   on the right leg. Ofc. White used his foot to slide the gun away from Decedent’s right hand. Other

                                                                                                                   28   officers arrive thereafter and rendered medical aid to Decedent, but he was pronounced dead at the

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT                3
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                                                                                                                    1   scene.

                                                                                                                    2            On October 10, 2017, a Coroner’s Inquest hearing was held regarding the mode and manner

                                                                                                                    3   of Decedent’s death, per County protocol and State law. A jury was empaneled in accordance with

                                                                                                                    4   State law. Defendant Guichard was retained by the County as the Inquest hearing officer and

                                                                                                                    5   examined a number of witnesses to testify to the details of Decedent’s death, including forensic

                                                                                                                    6   pathologist Dr. Arnold Josselson, APD Cpl. Mortimer, APD Officer Ryan White, APD Detective

                                                                                                                    7   James Colley and District Attorney Senior Inspector James Alexander. At the end of the testimony,

                                                                                                                    8   the jury determined that Decedent’s death was caused by “Accident.”
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                                                                                                                    9                           b.      Contra Costa Defendants’ Statement of Facts:
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10            Because Decedent’s death was the result of an officer-involved shooting, Contra Costa

                                                                                                                   11   County’s Law Enforcement Involved Fatal Incident (“LEIFI”) protocol was invoked. Pursuant to

                                                                                                                   12   that protocol, Deputy District Attorney Grove was notified of the shooting and, together with a
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                                                                                                                   13   manager appointed by the City of Antioch, oversaw the investigation of that shooting. Senior

                                                                                                                   14   Inspector Alexander was one of the officers involved in the shooting.

                                                                                                                   15            Following the shooting, there was an inquest conducted by the Coroner’s Office, which is

                                                                                                                   16   headed by Coroner Livingston. Mr. Guichard was the hearing officer at the Coroner’s Inquest.

                                                                                                                   17            Plaintiffs have requested various records from the District Attorney’s Office related to the

                                                                                                                   18   investigation. On May 1, 2019, the District Attorney’s Office provided Mr. Banks with public

                                                                                                                   19   records relating to the investigation.
                                                                                                                   20                           c.      Defendant Matthew P. Guichard’s Additional Facts:
                                                                                                                   21            Defendant Guichard concurs with the description of the Coroner’s Inquest set forth above.

                                                                                                                   22   Guichard notes that his role was only to examine witnesses and oversee the Inquest proceedings;

                                                                                                                   23   he had no role in selecting witnesses, compiling or selecting evidence, or determining how to

                                                                                                                   24   respond to the Inquest jury’s verdict. Defendant Guichard is an attorney in private practice who has

                                                                                                                   25   no authority or policy-setting role in the Coroner’s Office, District Attorney’s Office, or County of

                                                                                                                   26   Contra Costa.

                                                                                                                   27                   3.      LEGAL AND FACTUAL ISSUES:
                                                                                                                   28            The principal legal and factual issues in dispute include the following:

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                                                                                                                    1      a) Whether Defendant Mortimer violated Decedent’s Fourth Amendment rights to be free

                                                                                                                    2          from unreasonable seizures (detention/arrest) as secured by the Fourth Amendment of the

                                                                                                                    3          U.S. Constitution;

                                                                                                                    4      b) Whether Defendant Mortimer violated Decedent’s right to be free from excessive and

                                                                                                                    5          unreasonable force in the course of an arrest or detention as secured by the Fourth

                                                                                                                    6          Amendment of the U.S. Constitution;

                                                                                                                    7      c) Whether Defendants City of Antioch, County of Contra Costa, Matthew P. Guichard, and

                                                                                                                    8          Coroner David Livingston are liable under Monell for maintaining an unconstitutional
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                                                                                                                    9          custom, policy, or practice that deprived Decedent and Plaintiffs of rights and liberties
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10          secured by the Fourth and Fourteenth Amendments;

                                                                                                                   11      d) Whether Defendants deprived Decedent and Plaintiffs of the substantive due process right

                                                                                                                   12          to seek redress and access justice through the courts as secured by the Fourteenth
                                                                        TELEPHONE: (925) 939-5330
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                                                                                                                   13          Amendment;

                                                                                                                   14      e) Whether Defendant Guichard personally committed any violation of Decedent or

                                                                                                                   15          Defendants’ constitutional rights sufficient to sustain a 42 U.S.C. §§ 1983 claim;

                                                                                                                   16      f) Whether Plaintiffs’ claims against the Contra Costa Defendants and Guichard are premature

                                                                                                                   17          in light of Plaintiffs’ pending claims against the Antioch Defendants;

                                                                                                                   18      g) Whether, pursuant to California Civil Code § 52.1, Defendant Mortimer violated

                                                                                                                   19          Decedent’s rights by threat, intimidation, or coercion;
                                                                                                                   20      h) Whether, pursuant to California law, Defendant Mortimer subjected Decedent to battery;

                                                                                                                   21      i) Whether any individual Defendants are entitled to qualified immunity;

                                                                                                                   22      j) Whether Defendants have any applicable state law immunities.

                                                                                                                   23                 4.      MOTIONS:
                                                                                                                   24          Plaintiffs filed their Complaint (ECF 1) on December 7, 2018. Plaintiffs’ Complaint

                                                                                                                   25   contained six claims against a total of eight Defendants including, the City of Antioch, APD

                                                                                                                   26   Corporal Michael Mortimer, APD Detective James Colley (APD Defendants represented by

                                                                                                                   27   McNamara Law), the County of Contra Costa, Coroner David O. Livingston, Deputy District

                                                                                                                   28   Attorney Barry Grove, Senior Investigator James Alexander (represented by Contra Costa County

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT               5
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                                                                                                                    1   Counsel), and Inquest Hearing Officer Matthew Guichard (represented by Guichard, Teng, Portillo

                                                                                                                    2   & Garrett). In response, all Defendants filed respective motions to dismiss pursuant to Federal

                                                                                                                    3   Rule of Civil Procedure 12(b)(6). The hearing for Defendants’ motions to dismiss and the initial

                                                                                                                    4   Case Management Conference (“CMC”) are set for May 30, 2019. If Plaintiffs are granted

                                                                                                                    5   permission to amend the Complaint, Defendants will need to evaluate the issues to determine if

                                                                                                                    6   another round of motions to dismiss are appropriate. Additionally, any remaining Defendants will

                                                                                                                    7   likely file respective motions for summary judgment at the end of discovery.

                                                                                                                    8                   5.      AMENDMENT AND PLEADINGS:
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                                                                                                                    9           Not applicable to Defendants.
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10                   6.      EVIDENCE PRESERVATION:
                                                                                                                   11           The Defendants have reviewed the Guidelines Relating to the Discovery of Electronically

                                                                                                                   12   Stored Information, and have taken reasonable and appropriate steps to preserve evidence relevant
                                                                        TELEPHONE: (925) 939-5330
                                                                           ATTORNEYS AT LAW




                                                                                                                   13   and apparent to the issues in this action.

                                                                                                                   14                   7.      DISCLOSURES:
                                                                                                                   15           Currently discovery is not open and there are three pending motions to dismiss that may

                                                                                                                   16   result in the dismissal of a number of Defendants and claims. As such, this case is not at issue yet

                                                                                                                   17   and initial disclosures should be stayed until the motions to dismiss have been decided and all

                                                                                                                   18   remaining Defendants have filed an answer in response to Plaintiffs’ allegations.

                                                                                                                   19                   8.      DISCOVERY:
                                                                                                                   20           The discovery process has not formally begun. Defendants anticipate performing the

                                                                                                                   21   following discovery in this matter: Written discovery to Plaintiffs, the deposition of Plaintiffs, the

                                                                                                                   22   depositions of percipient or material witnesses regarding the subject incident and/or any damages

                                                                                                                   23   or liability related issues, the depositions of any relevant experts and the subpoena of relevant

                                                                                                                   24   records pertaining to issues in this case.

                                                                                                                   25           However, in the interests of time and resources of Defendants, the Antioch Defendants

                                                                                                                   26   intend to seek either bifurcation of Monell discovery and trial issues, and/or deferral of Monell

                                                                                                                   27   discovery until later in this case.

                                                                                                                   28           Defendant Guichard notes that, given his role as a hearing officer, he has virtually no

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT                 6
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                                                                                                                    1   relevant discoverable documents within his possession, custody, or control.

                                                                                                                    2                     9.    CLASS ACTIONS:
                                                                                                                    3           This matter is not a class action.

                                                                                                                    4                     10.   RELATED CASES:
                                                                                                                    5           Defendants are not aware of any related cases at this time.

                                                                                                                    6                     11.   RELIEF:
                                                                                                                    7           Defendants contends that Plaintiffs are not entitled to any monetary relief and reserve the

                                                                                                                    8   right to seek costs against Plaintiffs if Defendants are deemed the prevailing party.
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                                                                                                                    9                     12.   SETTLEMENT AND ADR:
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10           Defendants will be complying with ADR L.R. 3-5 and each will file the ADR Certification

                                                                                                                   11   by Parties and Counsel at the appropriate time. Defendants would be amenable to undergo an ENE

                                                                                                                   12   in this matter.
                                                                        TELEPHONE: (925) 939-5330
                                                                           ATTORNEYS AT LAW




                                                                                                                   13                     13.   CONSENT TO MAGISTRATE JUDGE:
                                                                                                                   14           The parties do not consent to be reassigned to a Magistrate Judge and want Your Honor to

                                                                                                                   15   preside over all aspects of this case.

                                                                                                                   16                     14.   OTHER REFERENCE:
                                                                                                                   17           The Defendants do not believe this case is suitable for reference to binding arbitration, a

                                                                                                                   18   special master, or the Judicial Panel on Multidistrict Litigation.

                                                                                                                   19                     15.   NARROWING OF ISSUES:
                                                                                                                   20           The Defendants will be seeking to narrow the issues in this matter via the discovery process

                                                                                                                   21   and any stipulation that can be attained during the discovery process, as well as via the filing of any

                                                                                                                   22   dispositive motions, up to the time of trial.

                                                                                                                   23                     16.   EXPEDITED SCHEDULE:
                                                                                                                   24           Not applicable.

                                                                                                                   25                     17.   SCHEDULING:
                                                                                                                   26            Events                                                                 Dates
                                                                                                                   27    Last day to seek leave to add parties and/or claims                    September 13, 2019
                                                                                                                   28    Completion of ADR                                                      December 20, 2019

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                                                                                                                    1
                                                                                                                         Fact discovery cutoff                                               January 10, 2020
                                                                                                                    2
                                                                                                                         Expert disclosure deadline                                          January 17, 2020
                                                                                                                    3
                                                                                                                         Rebuttal expert disclosure deadline                                 February 7, 2020
                                                                                                                    4
                                                                                                                         Completion of expert discovery                                      April 16, 2020
                                                                                                                    5
                                                                                                                         Last day to hear dispositive motions                                April 23, 2020
                                                                                                                    6
                                                                                                                         Pretrial filings due                                                May 18, 2020
                                                                                                                    7
                                                                                                                         Pretrial conference                                                 June 1, 2020
                                                                                                                    8
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                                                                                                                         Trial date                                                          June 29, 2020
                                                                                                                    9
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                                       18.       TRIAL:
                                                                                                                   10
                                                                                                                               The Defendants demand a trial by jury. The Defendants anticipate a 6 to 8-day jury trial.
                                                                                                                   11
                                                                                                                                       19.       DISCLOSURE OF NON-PARTY INTERESTED PERSONS:
                                                                                                                   12
                                                                        TELEPHONE: (925) 939-5330




                                                                                                                               Plaintiffs’ Sixth Cause of Action is a wrongful death battery claim. ECF, 24 ¶ 135-137.
                                                                           ATTORNEYS AT LAW




                                                                                                                   13
                                                                                                                        California law permits only one action for wrongful death cases. Cross v. Pacific Gas & Elec. Co.,
                                                                                                                   14
                                                                                                                        60 Cal.2d 690, 694 (1964). All heirs are necessary parties and "a plaintiff’s heirs have a
                                                                                                                   15
                                                                                                                        mandatory duty to join all known omitted heirs in the 'single action' for wrongful death.”
                                                                                                                   16
                                                                                                                        Ruttenberg v. Ruttenberg, 53 Cal. App. 4th 801, 808 (1997). Currently, only Decedent’s father and
                                                                                                                   17
                                                                                                                        alleged daughter are named as Plaintiffs to the lawsuit. Defendants’ believe Decedent’s mother’s
                                                                                                                   18
                                                                                                                        name is Theresa Ann Houghton, a potential resident of Pioneer, California. Pursuant to California
                                                                                                                   19
                                                                                                                        law, Defendants request that Plaintiffs identify all other interested heirs, including Decedent’s
                                                                                                                   20
                                                                                                                        mother, so they can be added to the lawsuit as Plaintiffs or nominal defendants to prevent
                                                                                                                   21
                                                                                                                        subsequent duplicative litigation and judicial waste.   See California Code of Civil Procedure
                                                                                                                   22
                                                                                                                        section 377.60.
                                                                                                                   23
                                                                                                                                       20.       PROFESSIONAL CONDUCT:
                                                                                                                   24
                                                                                                                               All attorneys of record for the Defendants have reviewed the Guidelines for Professional
                                                                                                                   25
                                                                                                                        Conduct for the Northern District of California.
                                                                                                                   26

                                                                                                                   27

                                                                                                                   28

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                                                                                                                    1                  21.     OTHER MATTERS:

                                                                                                                    2          Plaintiffs’ Complaint alleges that Plaintiff Alexis Avalos is Decedent’s daughter. However,

                                                                                                                    3   at this time we have little to no information regarding Ms. Avalos including whether she is actually

                                                                                                                    4   Decedent’s biological child. We ask that Plaintiffs demonstrate that Ms. Avalos has standing in

                                                                                                                    5   this matter by providing evidence that she is Decedent’s biological child. Further, assuming Ms.

                                                                                                                    6   Avalos has standing, Defendants request that if she is a minor that she be appointed a guardian ad

                                                                                                                    7   litem as required by California and federal law. Cal. Code Civ. P. Section 373(a) & Fed. R. Civ.

                                                                                                                    8   P. 17(c)(2).
McNAMARA, NEY, BEATTY, SLATTERY, BORGES & AMBACHER LLP




                                                                                                                    9          The parties attest that concurrence in the filing of these documents has been obtained from
                                                         3480 BUSKIRK AVENUE, SUITE 250, PLEASANT HILL, CA 94523




                                                                                                                   10   each of the other Signatories, which shall serve in lieu of their signatures on the document.

                                                                                                                   11   Dated: May 23, 2019                   MCNAMARA, NEY, BEATTY, SLATTERY,
                                                                                                                                                              BORGES & AMBACHER LLP
                                                                                                                   12
                                                                        TELEPHONE: (925) 939-5330
                                                                           ATTORNEYS AT LAW




                                                                                                                   13
                                                                                                                                                              By:      /s/ Blechman, Noah G.                     ____
                                                                                                                   14                                               Noah G. Blechman
                                                                                                                                                                    Cameren N. Ripoli
                                                                                                                   15                                               Attorneys for Defendants
                                                                                                                                                                    Officer Michael Mortimer, Detective James Colley, and
                                                                                                                   16                                               City of Antioch
                                                                                                                   17
                                                                                                                        Dated: May 23, 2019                   GUICHARD, TENG, PROTILLO, & GARRETT, A.P.C
                                                                                                                   18

                                                                                                                   19
                                                                                                                                                              By:__/s/ Garrett, Christopher J._____________________
                                                                                                                   20                                             Christopher J. Garrett
                                                                                                                   21                                             Attorney for Defendant
                                                                                                                                                                  Matthew P. Guichard
                                                                                                                   22

                                                                                                                   23                                         SHARON L. ANDERSON
                                                                                                                                                              COUNTY COUNSEL
                                                                                                                   24
                                                                                                                        Dated: May 23, 2019                   By:___/s/ Baker, D. Cameron____________________
                                                                                                                   25
                                                                                                                                                                  D. Cameron Baker
                                                                                                                   26                                             Deputy County Counsel
                                                                                                                                                                  Attorney for Defendants
                                                                                                                   27                                             County of Contra Costa, Coroner David O.
                                                                                                                                                                  Livingston, Barry Grove, and James Alexander
                                                                                                                   28

                                                                                                                         DEFENDANTS’ JOINT CASE MANAGEMENT                9
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